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                                                  ORDERED.


      Dated: February 08, 2024




                                 UNITED STATES BANKRUPTCY COURT
                                    MIDDLE DISTRICT OF FLORIDA
                                          TAMPA DIVISION
                                         www.flmb.uscourts.gov

In re:                                                             Case No. 8:19-bk-02298-RCT
                                                                   Chapter 13
JUDITH ANN EMERY

Debtor(s) 1
                                                  /

                       AGREED ORDER GRANTING DEBTOR’S MOTION
                     TO RETAIN LEFTOVER SALE PROCEEDS (DOC. NO. 49)

           THIS CASE came on for consideration for the purpose of an appropriate order upon the

filing, on negative notice, of the Debtor’s Motion to Retain Leftover Sale Proceeds (Doc. No.

49). The Court is advised, by the submission of this Order, that the Chapter 13 Standing Trustee,

Kelly Remick, and the Debtor, Judith Ann Emery, by and through their respective attorneys,

Lydia M. Gazda, Esquire and Jay M. Weller, Esquire, are in agreement that the Debtor’s Motion

should be granted. Accordingly, it is

           ORDERED:

           1.        The Debtor’s Motion to Retain Leftover Sale Proceeds (Doc. No. 49) is hereby

GRANTED to the extent provided herein.




1
    All reference to “Debtor” shall include and refer to both of the Debtors in a case filed jointly by two individuals.
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       2.      Under the circumstances of this case, the Debtor shall be permitted to retain the

remaining sale proceeds.

       3.      Creditors and any parties in interest may object to the relief granted within this

Order by filing an objection within twenty-one (21) days from the date of entry of this Order.

       4.      The hearing scheduled for February 21, 2024 is cancelled.


Attorney Jay M. Weller is directed to serve a copy of this Order on interested parties who do not
receive service by CM/ECF and file a proof of service within three days of entry of this Order.
KR/LMG/jn                                                                  C13T 2/6/24




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